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 9   Attorneys for Plaintiffs Farid Khan,
     Haya Hilton, and Olivia Lee Individually
10   and On Behalf of All Others Similarly Situated
11
                               UNITED STATES DISTRICT COURT
12
                              CENTRAL DISTRICT OF CALIFORNIA
13
                                    WESTERN DIVISION
14
15   FARID KHAN, an individual, on behalf        CASE NO.: 2:20-cv-03332-GW-JEMx
     of himself and all others similarly
16   situated,                                   Consolidated for Pretrial Purposes with:
                                                 No. 2:20-cv-04658-GW-JEM
17               Plaintiff,                      No. 2:20-cv-04659-GW-JEM
18                      v.                       PLAINTIFFS’ NOTICE OF MOTION
                                                 AND MOTION FOR PRELIMINARY
19   BOOHOO.COM USA, INC., a                     APPROVAL OF CLASS ACTION
     Delaware corporation, BOOHOO.COM            SETTLEMENT, PROVISIONAL
20   UK LIMITED, a United Kingdom                CERTIFICATION OF CALIFORNIA
     private limited company, BOOHOO             SETTLEMENT CLASS, AND
21   GROUP PLC, a Jersey public limited          APPROVAL OF PROCEDURE FOR
     company, and DOES 1-10, inclusive,          AND FORM OF NOTICE
22
                 Defendants.                     Hearing Information:
23
                                                 Date:             June 2, 2022
24                                               Time:             8:30 a.m.
                                                 Courtroom:        9D
25                                               Judge:            Hon. George H. Wu
26                                               Action Filed:     April 9, 2020
27
28
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD
 2           PLEASE TAKE NOTICE THAT on June 2, 2022 at 8:30 a.m. or as soon
 3   thereafter as counsel may be heard in Courtroom 9D of the above-captioned Court located
 4   on the 9th Floor at 350 West 1st Street, Los Angeles, California 90012, Plaintiffs Farid
 5   Khan, Haya Hilton, and Olivia Lee (“Plaintiffs”), by and through their undersigned
 6   counsel of record, will and hereby does move pursuant to Rule 23(e)(2) of the Federal
 7   Rules of Civil Procedure, for the Court to grant preliminary approval of the Class Action
 8   Settlement Agreement and Release (the “Settlement”) attached as Exhibit 1 to the
 9   concurrently filed Declaration of Ahmed Ibrahim. Specifically, Plaintiffs respectfully
10   request that the Court enter the [Proposed] Preliminary Approval Order, which: (1)
11   preliminarily approves the Settlement; (2) certifies the Settlement Class; (3) appoints Farid
12   Khan, Haya Hilton, and Olivia Lee as the class representatives for the Settlement Class,
13   (4) appoints Yasin Almadani of Almadani Law and Ahmed Ibrahim of AI Law, PLC as
14   Class Counsel; (5) appoints Kurtzman Carlson Consultants as the settlement
15   administrator; (6) approves the form, method and plan of Settlement Class Notice; (7)
16   mandates procedures and deadlines for Class Members to object or opt out; and (8)
17   schedules a final approval hearing and related deadlines.
18           This motion is made on the grounds that Plaintiffs have satisfied all the requirements
19   for preliminary approval of the proposed class action settlement under Rule 23(e)(2).
20           This motion is based on the concurrently filed Plaintiffs’ Memorandum of Points
21   and Authorities in Support of Class Action Settlement, Provisional Certification of
22   California Settlement Class, and Approval of Procedure for and Form of Notice, the
23   Stipulation in Support of Plaintiffs’ Motion for Preliminary Approval of Class Settlement
24   and exhibits thereto, the Declaration of Ahmed Ibrahim and exhibits thereto, the
25   Declaration of Yasin Almadani, the Declaration of Christie K. Reed Regarding Proposed
26   Class Notice Plan, the Declaration of Farid Khan, the Declaration of Haya Hilton, the
27   Declaration of Olivia Lee, the Declaration of Christian Tregillis, CPA, ABV, CFF, CLP,
28   in Support of Motion for Preliminary Approval of Class Settlement and exhibits thereto,
                                              1
     Plaintiffs’ Notice of Motion and Motion for Preliminary
     Approval of Class Action Settlement                               Case No. 20-cv-03332-GW (JEMx)
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 1   the pleadings and papers on file herein, and any other written and oral arguments that may
 2   be presented to the Court.
 3
 4    Dated: May 23, 2022                                      Respectfully submitted,
 5                                                             ALMADANI LAW
 6                                                             /s/ Yasin M. Almadani
 7
                                                               Yasin M. Almadani, Esq.

 8
                                                               AI LAW, PLC
 9
10                                                             /s/ Ahmed Ibrahim
                                                               Ahmed Ibrahim, Esq.
11
                                                               Attorneys for Plaintiffs Individually and
12                                                             On Behalf of All Others Similarly Situated
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     Plaintiffs’ Notice of Motion and Motion for Preliminary
     Approval of Class Action Settlement                                           Case No. 20-cv-03332-GW (JEMx)
